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BDM:KKO
F. #2017R01840

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA                          ORDER OF FORFEITURE

            - against -                           18-CR-204 (S-2) (NGG)

KEITH RANIERE,

                          Defendant.

– – – – – – – – – – – – – – – –X

              WHEREAS, on or about June 19, 2019, Keith Raniere, also known as

“Vanguard,”“Grandmaster,”and “Master” (the “defendant”), was convicted after a jury trial

of Counts One, Two, and Six through Ten, of the above-captioned Superseding Indictment,

charging violations of 18 U.S.C. §§ 1349, 1591(a)(1), 1594(a), 1594(b), 1594(c), 1962(c),

and 1962(d); and

              WHEREAS, the Court has determined that pursuant to 18 U.S.C. § 1963(a),

the defendant shall forfeit: (a) any interest the defendant acquired or maintained in violation

of 18 U.S.C. § 1962; (b) any interest in, security of, claim against or property or contractual

right of any kind affording a source of influence over any enterprise which the defendant has

established, operated, controlled, conducted or participated in the conduct of, in violation of

18 U.S.C. § 1962; (c) any property constituting, or derived from, any proceeds which the

defendant obtained, directly or indirectly, from racketeering activity in violation of 18 U.S.C.

§ 1962; and/or (d) substitute assets, pursuant to 18 U.S.C. § 1963(m), which shall be reduced

to a forfeiture money judgment (the “Forfeiture Money Judgment”).
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              NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED as follows:

              1.     The defendant shall forfeit to the United States the Forfeiture Money

Judgment, pursuant to 18 U.S.C. §§ 1963(a) and 1963(m).

              2.     This Order of Forfeiture (“Order”) is entered pursuant to Fed. R. Crim.

P. 32.2(b)(2)(c), and will be amended pursuant to Fed. R. Crim. P. 32.2(e)(1) when the

amount of the Forfeiture Money Judgment has been calculated.

              3.     All payments made towards the Forfeiture Money Judgment shall be

made by a money order, or certified and/or official bank check, payable to U.S. Marshals

Service with the criminal docket number noted on the face of the check. The defendant shall

cause said payment(s) to be sent by overnight mail delivery to Assistant United States

Attorney Karin K. Orenstein, United States Attorney’s Office, Eastern District of New York,

271-A Cadman Plaza East, Brooklyn, New York 11201, with the criminal docket number

noted on the face of the instrument. The Forfeiture Money Judgment shall become due and

owing in full thirty (30) days after any amendment of this Order pursuant to Rule 32.2(e)(1)

(the “Due Date”).

              4.     If the defendant fails to pay any portion of the Forfeiture Money

Judgment on or before the Due Date, the defendant shall forfeit any other property of his up

to the value of the outstanding balance, pursuant to 18 U.S.C. § 1963(m).

              5.     Upon entry of this Order, the United States Attorney General or his

designee is authorized to conduct any proper discovery in accordance with Fed. R. Crim. P.

32.2(b)(3) and (c). The United States alone shall hold title to the monies paid by the



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defendant to satisfy the Forfeiture Money Judgment following the Court’s entry of the

judgment of conviction.

              6.      The defendant shall fully assist the government in effectuating the

payment of the Forfeiture Money Judgment.

              7.      The entry and payment of the Forfeiture Money Judgment is not to be

considered a payment of a fine, penalty, restitution loss amount or a payment of any income

taxes that may be due, and shall survive bankruptcy.

              8.      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Order of

Forfeiture shall become final as to the defendant at the time of sentencing and shall be made

part of the sentence and included in the judgment of conviction. This Order shall become the

Final Order of Forfeiture, pursuant to Fed. R. Crim. P. 32.2(c)(2) and (e)(1). At that time,

the monies and/or properties paid toward the Forfeiture Money Judgment shall be forfeited to

the United States for disposition in accordance with the law.

              9.      This Order shall be binding upon the defendant and the successors,

administrators, heirs, assigns and transferees of the defendant, and shall survive the

bankruptcy of any of them.

              10.     This Order shall be final and binding only upon the Court’s “so

ordering” of the Order.




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              11.    The Court shall retain jurisdiction over this action to enforce

compliance with the terms of this Order and to amend it as necessary, pursuant to Fed. R.

Crim. P. 32.2(e).

Dated: Brooklyn, New York
       ________________________, 2020

                                              SO ORDERED:


                                              ______________________________________
                                              HONORABLE NICHOLAS G. GARAUFIS
                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF NEW YORK




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